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Fill in this information to identify the case:
             ARC Management Group, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of Georgia District of _________
                                                                              (State)
Case number (If known):    23-61742
                          _________________________                                                ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which          Sources of revenue                  Gross revenue
            may be a calendar year                                                              Check all that apply                (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                            
                                                                                                ✔ Operating a business
                                                                                                                                              5,163,175.19
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date           Other                              $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          
                                                                                                ✔ Operating a business                        6,175,634.00
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________          
                                                                                                ✔ Operating a business
                                                                                                                                              6,512,751.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                 Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None

                                                                                                Description of sources of revenue   Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                                                                           71,000.00
                                                                                               ___________________________
                                                                                              Rental Income; FL office sublease     $__________________
           fiscal year to filing date: From 01/01/2023
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2022
                                                ___________         to      12/31/2022
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   Rental Income; FL office sublease
                                                                                               ___________________________                     84,000.00
                                                                                                                                    $__________________



           For the year before that:       From 01/01/2021
                                                ___________         to      12/31/2021
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________
                                                                                              Rental Income; FL office sublease                46,290.32
                                                                                                                                    $__________________




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Debtor
                ARC Management Group, LLC
                _______________________________________________________                                               23-61742
                                                                                               Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                                                       09/08/2023
             American Express
            __________________________________________ 09/11/2023             $_________________
                                                                               60,979.52                         Secured debt
            Creditor’s name
             PO Box 60189
                                                       09/12/2023                                                Unsecured loan repayments
                                                       09/18/2023
             City of Industry, CA 91716-0189           09/26/2023                                                Suppliers or vendors
                                                       10/2/2023                                                 Services
                                                       10/5/2023
                                                       10/6/2023                                            
                                                                                                            ✔            Credit Card Debt
                                                                                                                  Other _______________________________
                                                       10/17/2023
     3.2.                                              10/20/2023

             InfoWorks
                                                       10/18/2023
                                                                              $_________________
                                                                               10,000.00                         Secured debt
            __________________________________________ 10/26/2023
            Creditor’s name                                                                                      Unsecured loan repayments
             PO Box 47
             Woodstock, GA 30188                                                                            
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

      None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.
            William D. Wilson
            __________________________________________  _________
                                                       05/04/2023              30,368.70
                                                                             $__________________
            Insider’s name
                                                                                                          Payments to owner's BarclayCard for
             12655 Old Surrey Place                                                                       business expenses [additional
                                                            _________
                                                           05/15/2023
             Roswell, GA 30075-1067                                                                       payment dates: 7/17/2023;
                                                             _________
                                                           6/27/2023                                      7/28/2023; 9/29/2023 and
                                                                                                          10/10/2023]
            Relationship to debtor
             Owner
            __________________________________________



     4.2.   William D. Wilson
            __________________________________________
            Insider’s name
                                                            _________
                                                           03/03/2023          9,873.22
                                                                             $__________________
             12655 Old Surrey Place                                                                       Payments to Chase credit card
             Roswell, GA 30075                              _________
                                                           09/08/2023
                                                                                                          guaranteed by B. Wilson for business
                                                                                                          expenses
                                                             _________




            Relationship to debtor
            Owner
            __________________________________________



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                 ARC Management Group, LLC
                 _______________________________________________________                                                 23-61742
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                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
          Green Note Capital Partners SPV LLC                                                Kings County Supreme Court
     7.1. v. ARC Management Group, LLC DBA           Commercial - Contract                                                                     
                                                                                                                                               ✔ Pending
          ARC Management Group et al
                                                                                                                                                On appeal
             Case number                                                                     360 Adams St #4                                    Concluded
                                                                                             Brooklyn, NY 11201
      525655/2023
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Flock Financial, LLC v. ARC                                                      Superior Court of Cobb County                     
                                                                                                                                               ✔ Pending
     7.2.
            Management Group, LLC                                                                                                               On appeal
             Case number
                                                                                                                                                Concluded
                                                     Breach of Contract                      70 Haynes St.
                                                                                             Marietta, GA 30090
      23106126
             _________________________________


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Debtor
                 ARC Management Group, LLC
                 _______________________________________________________                                                  23-61742
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
      None
             Custodian’s name and address                        Description of the property                        Value

             Irwin Bernstein c/o James W. Hayes, Esq.
             __________________________________________
                                                                 Funds
                                                                 ______________________________________             $_____________
                                                                                                                     70,000.00
             Custodian’s name
             3945 Holcomb Bridge Rd., Ste. 300                   Case title                                         Court name and address
             Norcross, GA 30092
                                                                                                          Superior
                                                                                                               LLCCourt of Cobb County
                                                                                                          __________________________________________
                                                                 Flock Financial, LLC v. ARC Management Group,
                                                                 ______________________________________
                                                                                                                  Name
                                                                 Case number                                       70 Haynes Street
                                                                                                                   Marietta, GA 30090
                                                                 23-1-6126-69
                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 10/2023
                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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               ARC Management Group, LLC
              _______________________________________________________                                                    23-61742
                                                                                                  Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Rountree Leitman Klein & Geer, LLC
           __________________________________________         Retainer
   11.1.                                                                                                                 11/2023
                                                                                                                         ______________      $_________
                                                                                                                                               50,000.00
           Address

           Century Plaza I, 2987 Clairmont Rd., Ste. 350
           Atlanta, GA 30329




           Email or website address
           rlkglaw.com
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




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                                                                                                 Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

            __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.    __________________________________________

           Address




           Relationship to debtor

            __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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               ARC Management Group, LLC
               _______________________________________________________                                                   23-61742
                                                                                                   Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.   ________________________________________                                                                                      ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper
                                                             Nature of the business operation, including type of services the            If debtor provides meals
           Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

      No.
     
     ✔ Yes. State the nature of the information collected and retained. ___________________________________________________________________
                                                                        Name, address, social security number, account number

               Does the debtor have a privacy policy about that information?
             
              No
             
             ✔ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
            
            ✔ No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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Debtor        ARC Management Group, LLC
              _______________________________________________________                                                    23-61742
                                                                                                  Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              ARC Management Group, LLC
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                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

      None
          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                   Security deposit under Sublease                  7,000.00
                                                                                                                                                  $_________
          Medical Licensing, LLC
          ______________________________________                                                   dated June 19, 2021 by and between
          Name
          200 S. Park Road                                                                         ARC Management Group, LLC as
          Hollywood, FL 33021                                                                      Sublandlord and Medical Licensing,
                                                                                                   LLC as Subtentant




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                                                                                               Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              Colin Dixon                                                                                   From 01/01/2006
                                                                                                                 _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                             11/29/2006
                                                                                                            To _______




              Name and address                                                                              Dates of service

              Scott M. Abrams|Carr, Riggs & Ingram, LLC                                                     From 01/01/2006
                                                                                                                 _______
   26a.2.     __________________________________________________________________________________
              Name
              4004 Summit Blvd NE, Ste 800, Atlanta, GA 30319                                                  11/29/2023
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    Colin Dixon
                   ______________________________________________________________________________
                   Name




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
             Case 23-61742-bem                  Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                               Desc Main
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Debtor
                    ARC Management Group, LLC
                    _______________________________________________________                                            23-61742
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    William D. Wilson
                     ______________________________________________________________________________
                     Name
                      12655 Old Surrey Place, Roswell, GA 30075-1067




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
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Debtor
              ARC Management Group, LLC
              _______________________________________________________                                                23-61742
                                                                                               Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 Thresa Larae Wilson                        12655 Old Surrey Place, Roswell, GA 30075-1067           Owner/VP Marketing and Sales            50


 William D. Wilson                          12655 Old Surrey Place, Roswell, GA 30075-1067           Owner/CEO                               50




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
      No
     
     ✔ Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   Aaron Wilson                                                                                                  12/5/2022          Employee
           ______________________________________________________________             10,800.00
                                                                                      _________________________          _____________
           Name                                                                                                                             bonus$10,000;
           12655 Old Surrey Place                                                                                                           Expense
           Roswell, GA 30075                                                                                             1/10/2023
                                                                                                                         _____________      reimbursement $800
                                                                                                                                            [Additional payment
                                                                                                                                            dates: 9/11/2023,
                                                                                                                         8/29/2023
                                                                                                                         _____________      9/27/2023,
                                                                                                                                            10/10/2023]
           Relationship to debtor                                                                                        _____________
           Relative of Owner
           ______________________________________________________________                                                _____________
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
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Debtor
                ARC Management Group, LLC
                _______________________________________________________                                                   23-61742
                                                                                                   Case number (if known)_____________________________________
                Name




             Name and address of recipient                                                 11,876.70                       1/31/2023         Repayment of loans
                                                                                           __________________________     _____________      from T. Wilson
             Thresa Wilson                                                                                                                   [Additional payment
   30.2      ______________________________________________________________                                                3/6/2023
                                                                                                                          _____________      dates: 6/14/2023;
             Name
             12655 Old Surrey Place                                                                                                          8/28/2023; 9/5/2023;
             Roswell, GA 30075                                                                                             3/14/2023
                                                                                                                          _____________      9/27/2023; and
                                                                                                                                             10/13/2023]

                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________
             Owner
             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      No
     
     ✔ Yes. Identify below.



             Name of the pension fund                                                                    Employer Identification number of the pension fund
             ARC Management Group LLC 401k; Administered by Insperity
             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      12/27/2023
                             _________________
                              MM / DD / YYYY



            /s/ William D. Wilson
            ___________________________________________________________                               William D. Wilson
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Chief Executive Officer
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
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               ARC Management Group, LLC
                                                    Document     Page 15 of 58        23-61742
 Debtor Name                                                                          Case number (if known)



                                               Continuation Sheet for Official Form 207

3) Certain payments or transfers to creditors within 90 days before filing this case

Adventus AOF #1 LP, PO                     $50,000.00                              Other
Box 936596, Atlanta, GA
31193-6596

Windstream, PO Box                         $8,250.00                               Services
9001013, Louisville, KY
40290-1013

RevSpring, Inc., 26988                     $159,605.40                             Suppliers or vendors
Network Place, Chicago,
IL 60673-1269

VCC Owner LLC, PO Box                      $15,000.00                              Other
935812, Atlanta, GA
31193-5812

Barclay Card, Card                         $10,000.00
Services P.O. Box 8802,
Wilmington, DE 19899-0000

Aaron Wilson,                              $8,000.00

Intelligent Contacts,                      $81,611.50

Merche-Solutions,                          $31,733.81


4) Payments or other transfers of property made within 1 year before filing this case that
benefited any insider

William D. Wilson               12655 Old Surrey                $498,500.30                        Payments to Amex
                                Place, Roswell, GA                                                 credit cards
                                30075                                                              guaranteed by B.
                                                                                                   Wilson; various
                                                                                                   payment dates from
                                                                                                   12/2/2022 through
                                                                                                   11/15/2023


7) Legal Actions

Jeanine Scull v. ARC Management Group, LLC

1:22-CV-00754

Alleged FDCPA violations

United States District Court, WDNy

2 Niagara Square, Buffalo, NY 14202-3498

Pending

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Matthew Shawn Skinner v. Equifax Information Services LLC and ARC Management
Group of Georgia, LLC d/b/a ARC Management Group, LLC




  Official Form 207                           Statement of Financial Affairs for Non-Individuals
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               ARC Management Group, LLC
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 Debtor Name                                                                          Case number (if known)



                                               Continuation Sheet for Official Form 207
5:23-CV-00605

Action brought pursuant to the Fair Credit Reporting Act

United States District Court, MDFl

207 Northwest Second Street, Ocala, FL 34475

Pending

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Kendra Watts v. ARC Management Group, LLC

1:23-CV-04782-ELR-JEM

Alleged violations of Fair Debt Collection Practices Act

United States District Court, NDGa.

75 Ted Turner Drive, SW, Atlanta, GA 30303

Pending

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Charles H. Mousseau, Jr. v. ARC Management Group, LLC

1:22-cv-03309-KLM

United States District Court, DOC

901 19th Street, Denver, CO 80294

Pending

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17) Pension Contributions

ARC Management Group LLC
401k; Administered by
Insperity


26c) Records keepers

Thresa Larae Wilson                        12655 Old Surrey Place,
                                           Roswell, GA 30075-1067

Scott M. Abrams|Carr,                      4004 Summit Blvd NE, Ste
Riggs & Ingram, LLC                        800, Atlanta, GA 30319


30) Payments, distributions, or withdrawals credited or given to insiders

Name and Address:

William D. Wilson




  Official Form 207                           Statement of Financial Affairs for Non-Individuals
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 Debtor Name                                                                          Case number (if known)



                                              Continuation Sheet for Official Form 207

12655 Old Surrey Place
Roswell, GA 30075

Amount of money or description: $368,205.91

Dates:     - ,        - ,   -

Reason: Repayment of various loans made by B. Wilson to Debtor between
12/12/202 and 11/13/2023

---

Name and Address:

William D. Wilson

12655 Old Surrey Place
Roswell, GA 30075

Amount of money or description: $150,000.00

Dates:     - ,        - ,   -

Reason: Salary; paid through payroll company

---

Name and Address:

Thresa Larae Wilson

12655 Old Surrey Place
Roswell, GA 30075

Amount of money or description: $150,000.00

Dates:     - ,        - ,   -

Reason: Salary; paid through payroll company

---




  Official Form 207                           Statement of Financial Affairs for Non-Individuals
            Case 23-61742-bem                      Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38                            Desc Main
                                                            Document     Page 18 of 58
  Fill in this information to identify the case:

               ARC Management Group, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Georgia
                              23-61742
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
          Wells Fargo Bank, N.A. (5971)
    3.1. _________________________________________________  Checking
                                                           ______________________              5
                                                                                               ____  9
                                                                                                    ____ 7
                                                                                                         ____ 1
                                                                                                              ____               $______________________
                                                                                                                                   170,246.55
          Wells Fargo Bank, N.A. (0253)
    3.2. _________________________________________________  Checking
                                                           ______________________              0
                                                                                               ____  2
                                                                                                    ____ 5
                                                                                                         ____ 3
                                                                                                              ____                 326.77
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 170,573.32
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Security Deposit; Barrett Lakes Office; held by Adventus US Realty #8 LP
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    22,950.67
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                page 1
            Case 23-61742-bem                    Doc 51     Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
Debtor           ARC Management Group, LLC                 Document
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                                                                                                         23-61742
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Quadient - Postage Prepayment
    8.1.___________________________________________________________________________________________________________                  2,000.00
                                                                                                                                   $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                    24,950.67
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     98,141.19
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   98,141.19
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         217,568.30
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   217,568.30
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 315,709.49
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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                ARC Management Group, LLC                                                                23-61742
Debtor                                                     Document
               _______________________________________________________  Page 20 of Case
                                                                                    58 number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
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 Debtor
                         ARC Management Group, LLC
                        _______________________________________________________             Document     Page 21 of Case                  23-61742
                                                                                                                     58 number (if known)_____________________________________
                        Name




33. Total of Part 6.
                                                                                                                                                                         $______________________
        Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

         No
         Yes. Is any of the debtor’s property stored at the cooperative?
           No
           Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

         No
         Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

         No
         Yes

Pa rt 7 :         Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.
         ✔




      General description                                                                                                   Net book value of   Valuation method          Current value of debtor’s
                                                                                                                            debtor's interest   used for current value    interest
                                                                                                                            (Where available)
39. Office furniture
6 desks - $2,400; 80 cubicles - $0; 80 cubicle chairs $6000; 1 conference room table $750; 12 conference room chairs
- $1200; 1 office table -$200.00; 4 office table chairs - $500.00; 12 desk courtesy chairs - $960; 6 lobby chairs - $600;
4 break room tables - $200; 12 break room chairs - $420; 8 filing cabinets - $200                                             0.00                                         13,430.00
                                                                                                                            $________________   ____________________     $______________________
40. Office fixtures

                                                                                                                            $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
See continuation sheet                                                                                                        0.00                                         8,550.00
                                                                                                                            $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

      42.1___________________________________________________________                                                       $________________    ____________________    $______________________
      42.2___________________________________________________________                                                       $________________    ____________________    $______________________
      42.3___________________________________________________________                                                       $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                                                           21,980.00
                                                                                                                                                                         $______________________
      Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

       
       ✔ No
        Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       
       ✔ No
        Yes
 Official Form 206A/B                                                                          Schedule A/B: Assets  Real and Personal Property                                      page 4
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 Debtor
                ARC Management Group, LLC
                                                          Document
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                                                                                   58 number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
            Case 23-61742-bem Doc 51                            Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
               ARC Management Group, LLC                                                                     23-61742
 Debtor                                                        Document
                  _______________________________________________________   Page 23 of Case
                                                                                        58 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       1825 Barrett Lakes Blvd., N.W., Ste. 505,               Office lease
55.1
       Kennesaw, GA 30144-7570
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________
       200 South Park Road, Suite 450, Hollywood, FL          Office lease
55.2
       33021
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                       0.00                                          Unknown
    https://arccollects.com/
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
                                                                                                                                     2,667.00
    Kapersky License
    ______________________________________________________________                   $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                               0.00                                          Unknown
    Customer list
    ______________________________________________________________                   $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                2,667.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 6
           Case 23-61742-bem                            Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
Debtor            ARC Management Group, LLC                      Document
                 _______________________________________________________      Page 24 of Case                  23-61742
                                                                                          58 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
    
    ✔ Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest
71. Notes receivable
     Description (include name of obligor)
      Loan to JD Stuart
     ______________________________________________________
                                                                           277,985.00
                                                                          _______________   –    0.00
                                                                                                __________________________         =     277,985.00
                                                                                                                                        $_____________________
                                                                          Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                      $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                        Unknown
                                                                                                                                        $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                      $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                       $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                         $_____________________
   ____________________________________________________________                                                                         $_____________________
78. Total of Part 11.
                                                                                                                                          277,985.00
                                                                                                                                        $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Official Form 206A/B                                              Schedule A/B: Assets  Real and Personal Property                                 page 7
              Case 23-61742-bem                         Doc 51          Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
Debtor
                   ARC Management Group, LLC
                                                                       Document
                  _______________________________________________________           Page 25 of Case                  23-61742
                                                                                                58 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         170,573.32
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         24,950.67
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         315,709.49
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         21,980.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         2,667.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      277,985.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         813,865.48                        0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  813,865.48                                                                                     813,865.48
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
            Case 23-61742-bem               Doc 51        Filed 12/27/23 Entered 12/27/23 20:07:38                   Desc Main
                ARC Management Group, LLC                Document     Page 26 of 58        23-61742
 Debtor 1                                                           _                  Case number (if known)
               First Name   Middle Name      Last Name



                                                 Continuation Sheet for Official Form 206 A/B

41) Office equipment, including all computer equipment and communication systems equipment
and software

General description                Net book value                Valuation method                    Current value

15 desktop                         0.00                                                              750.00
computers

8 laptop computers                 0.00                                                              800.00

2 servers                          0.00                                                              6,000.00

Miscellaneous                                                                                        1,000.00
office equipment


74) Causes of action against third parties (whether or not a lawsuit has been filed)

General description                Nature of claim               Amount requested                    Current value

Counterclaim                       Civil Rico;                   0.00                                Unknown
against Flock                      Declaratory
Financial, LLC                     Judgment of
                                   Unenforceability
                                   of MCA Agreements;
                                   Breach of Contract;
                                    Fraud; Unjust
                                   Enric
                                   hment/Disgorgement;
                                    Conspiracy;
                                   Declaratory
                                   Judgment of
                                   Unenforceability
                                   and Invalidity of
                                   UCC Liens

Counterclaim                       Civil Rico;                   2,000,000.00                        Unknown
against Green Note                 Declaratory
Capital Partners                   Judgment of
SPV LLC; KYF                       Unenforceability
Global Partners,                   of MCA Agreements;
LLC; Funding Club;                 Breach of Contract;
United Secured                      Fraud; Unjust
Capital Group LLC;                 Enric
United Secured                     hment/Disgorgement;
Capital, LLC;                       Conspiracy;
Isaac Kassab;                      Declaratory
Freddy Kassab;                     Judgment of
Gabriel Mann; ABC                  Unenforceability
Corporations 1-10;                 and Invalidity of
and John Does 1-10                 UCC Liens




Official Form 206 A/B                                             Schedule A/B: Property
             Case 23-61742-bem                           Doc 51      Filed 12/27/23 Entered 12/27/23 20:07:38                                     Desc Main
                                                                    Document     Page 27 of 58
  Fill in this information to identify the case:
              ARC Management Group, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Georgia
                                 23-61742
  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     Cheetah Capital

      __________________________________________                                                                                 700,000.00
                                                                                                                               $__________________          0.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      667 Madison Avenue
      ________________________________________________________
      5th Floor, New York, NY 10065
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                               
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     CT Corporation System, as Representative
                                                                                                                               $__________________
                                                                                                                                Unknown                   $_________________
                                                                                                                                                           0.00
      __________________________________________
     Creditor’s mailing address
      330 N. Brand Blvd, Suite 700
      ________________________________________________________
      Attn: SPRS, Glendale, CA 91203
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             3/1/2023
    Date debt was incurred __________________                     Agreement you made, UCC-1 Financing            Statement
                                                                  _________________________________________________
    Last 4 digits of account
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                 
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 ✔ Contingent
          Yes. The relative priority of creditors is            
                                                                 ✔ Unliquidated
                   specified on lines _____                      
                                                                 ✔ Disputed


 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  7,744,057.88
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        6
                                                                                                                                                            page 1 of ___
              Case  23-61742-bem
                ARC Management Group, LLC
                                                           Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38      23-61742
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  Debtor            _______________________________________________________
                                                                    Document     Page 28 of Case
                                                                                             58 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Flock Financial, LLC
                                                                Accounts Receivable
     __________________________________________                                                                                772,411.00
                                                                                                                              $__________________      315,709.49
                                                                                                                                                      $_________________
     Creditor’s mailing address

     400 Galleria Parkway SE
     ________________________________________________________

     Ste. 17, Atlanta, GA 30339-5980
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            07/2022
                                      __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made, UCC-1 Financing Statement
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                                ✔ Contingent
            Yes. The relative priority of creditors is         
                                                                ✔ Unliquidated
                    specified on lines _____                    
                                                                ✔ Disputed



2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Funding Club


     __________________________________________                                                                                Unknown
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      915 Middle River Drive
     ________________________________________________________

      Fort Lauderdale, FL 33304
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                                ✔ Contingent
            Yes. The relative priority of creditors is         
                                                                ✔ Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               2 of ___
                                                                                                                                                                     6
              Case  23-61742-bem
                ARC Management Group, LLC
                                                           Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38      23-61742
                                                                                                                                Desc Main
  Debtor            _______________________________________________________
                                                                    Document     Page 29 of Case
                                                                                             58 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Green Note Capital Partners SPV LLC

     __________________________________________                                                                                Unknown
                                                                                                                              $__________________      0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     1019 Avenue P
     ________________________________________________________

     Ste. 401, Brooklyn, NY 11223-2366
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            8/18/2023
                                      __________________        Describe the lien
    Last 4 digits of account
                                                                      __________________________________________________
                                                                             Agreement you made, UCC-1 Financing Statement
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                                ✔ Contingent
            Yes. The relative priority of creditors is         
                                                                ✔ Unliquidated
                    specified on lines _____                    
                                                                ✔ Disputed



2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     KYF Global Partners, LLC


     __________________________________________                                                                                218,000.00
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      1019 Ave. P
     ________________________________________________________

      Brooklyn, NY 11223
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               3 of ___
                                                                                                                                                                     6
              Case  23-61742-bem
                ARC Management Group, LLC
                                                           Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38      23-61742
                                                                                                                                Desc Main
  Debtor            _______________________________________________________
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                                                                                             58 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Lendspark Corporation

     __________________________________________                                                                                409,218.88
                                                                                                                              $__________________      0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     2554 Gateway Road
     ________________________________________________________

     Carlsbad, CA 92009
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Libertas Funding, LLC


     __________________________________________                                                                                5,285,500.00
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      411 W. Putnam Avenue
     ________________________________________________________

      Ste. 220, Greenwich, CT 06830
     ________________________________________________________




    Creditor’s email address, if known
      00
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made,
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               4 of ___
                                                                                                                                                                     6
              Case  23-61742-bem
                ARC Management Group, LLC
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                                                                                                                                Desc Main
  Debtor            _______________________________________________________
                                                                    Document     Page 31 of Case
                                                                                             58 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Samson MCA LLC

     __________________________________________                                                                                195,000.00
                                                                                                                              $__________________      0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     17 State Street
     ________________________________________________________

     Ste. 630, New York, NY 10004
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            04/25/2023
                                      __________________        Describe the lien
    Last 4 digits of account
                                                                            Agreement you made, UCC-1 Financing Statement
                                                                     __________________________________________________
    number                   _________________
                             3086
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  10 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      True Business Funding


     __________________________________________                                                                                163,928.00
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      460 Faraday Avenue
     ________________________________________________________

      Jackson, NJ 08527-5072
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred             07/18/2023
                                      __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         No
            No. Specify each creditor, including this          
                                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               5 of ___
                                                                                                                                                                     6
            Case 23-61742-bem                 Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                                   Desc Main
                                                          Document     Page 32 of 58
Debtor
               ARC Management Group, LLC
               _______________________________________________________                                                    23-61742
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Jeffrey Parrella, Esq.
     AWN&R Commerical Law Group
     14 Wall Street, 20th Floor                                                                                        5
                                                                                                               Line 2. __                    _________________
     New York, NY, 10005


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      6 of ___
                                                                                                                                                           6
               Case 23-61742-bem                  Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                                Desc Main
      Fill in this information to identify the case:          Document     Page 33 of 58

      Debtor
                      ARC Management Group, LLC
                      __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the: ________________________________

      Case number      23-61742
                       ___________________________________________
      (If known)

                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                        12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔ No. Go to Part 2.

       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                9
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               ARC 23-61742-bem
                   Management Group, LLC Doc 51            Filed 12/27/23 Entered 12/27/23 20:07:38     23-61742 Desc Main
  Debtor        _______________________________________________________
                Name                                      Document     Page 34 of Case
                                                                                   58 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Adventus AOF #1 LP                                                                                                       80,231.11
                                                                                                                           $________________________________
                                                                            Contingent
    PO Box 936596                                                           Unliquidated
                                                                            Disputed
    Atlanta, GA, 31193-6596                                                                        Landlord
                                                                           Basis for the claim:



    Date or dates debt was incurred            2/1/2020
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            0098
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                       Check all that apply.                             18,076.86
                                                                                                                           $________________________________
    PO Box 60189                                                            Contingent
    City of Industry, CA, 91716-0189                                        Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            2006
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AT&T                                                                                                                     160.50
                                                                                                                           $________________________________
                                                                            Contingent
    PO Box 6416                                                             Unliquidated
    Carol Stream, IL, 60197-6416                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            6793
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Charles H. Mousseau, Jr.                                               Check all that apply.
                                                                                                                             Undetermined
                                                                                                                           $________________________________
    Eric Donald Coleman|Sulaiman Law Group Ltd.                             Contingent
                                                                            ✔
    2500 South Highland Ave Ste 200                                        
                                                                           ✔ Unliquidated
    Lombard, IL, 60148                                                     
                                                                           ✔ Disputed

                                                                            Basis for the claim:
                                                                                                   Lawsuit

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ComCast                                                                                                                  733.98
                                                                                                                           $________________________________
                                                                           Check all that apply.
    PO Box 71211                                                            Contingent
    Charlotte, NC, 28272-1211                                               Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            8120
                                               __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    e-Oscar                                                                                                                  600.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Dept 224501                                                             Contingent
    PO Box 55000                                                            Unliquidated
    Detroit, MI, 48255-4971                                                 Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            9202
                                               ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    9
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                  Name                                  Document     Page 35 of Case
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6,500.00
                                                                                                                     $________________________________
 GILBRIDE, TUSA, LAST & SPELLANE, LLC                                 Contingent
 986 Bedford Street                                                   Unliquidated
 Stamford, CT, 06905                                                  Disputed
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       532.69
                                                                                                                     $________________________________
 Hewlett-Packard Financial Services
 PO Box 402582                                                        Contingent
 Atlanta, GA, 30384-2584                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Equipment Lease - Server A



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       9067
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hewlett-Packard Financial Services                                  Check all that apply.
                                                                                                                      1,103.30
                                                                                                                     $________________________________
 PO Box 402582                                                        Contingent
 Atlanta, GA, 30384-2584                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Equipment Lease - Server B



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              9067                   
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      230.00
                                                                                                                     $________________________________
 Howste Technical Services                                           Check all that apply.
 2440 Sandy Plains Road                                               Contingent
 Bldg 7                                                               Unliquidated
 Marietta, GA, 30066                                                  Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 IDI                                                                 Check all that apply.
                                                                                                                       1,350.00
                                                                                                                     $________________________________
 PO Box 744971                                                        Contingent
 Atlanta, GA, 30384-4971                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              2119                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,000.00
                                                                                                                     $________________________________
 InfoWorks                                                            Contingent
 PO Box 47                                                            Unliquidated
 Woodstock, GA, 30188                                                 Disputed
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       Undetermined
                                                                                                                     $________________________________
 Jeanine Scull
 c/o Seth J. Andrews|Law Offices of Kenneth                           Contingent
                                                                     ✔

 Hiller                                                              
                                                                     ✔
                                                                       Unliquidated
 6000 North Bailey Ave., Ste. 1A                                     
                                                                     ✔
                                                                       Disputed
 Amherst, NY, 14226
                                                                     Basis for the claim: Lawsuit



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keep It Safe                                                        Check all that apply.
                                                                                                                      895.71
                                                                                                                     $________________________________
 PO Box 101672                                                        Contingent
 Pasadena, CA, 91189                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6448                   
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      Undetermined
                                                                                                                     $________________________________
 Kendra Watts                                                        Check all that apply.
 c/o Naja I Hawk|The Hawk Legal Collective                           
                                                                     ✔
                                                                       Contingent
 730 Peachtree Street NE #570                                        
                                                                     ✔
                                                                       Unliquidated
 Atlanta, GA, 30308                                                  
                                                                     ✔
                                                                       Disputed

                                                                     Basis for the claim: Lawsuit



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lathem Time                                                         Check all that apply.
                                                                                                                       77.00
                                                                                                                     $________________________________
 210 The Bluffs                                                       Contingent
 Ste 107                                                              Unliquidated
 Austell, GA, 30168                                                   Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              0229                    Yes



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             Case
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Undetermined
                                                                                                                     $________________________________
 Matthew Shawn Skinner                                               
                                                                     ✔ Contingent
 c/o Frank H. Kerney, III, Esq.                                      
                                                                     ✔ Unliquidated
 The Consumer Lawyers | 412 E. Madison St Ste                        
                                                                     ✔ Disputed
 916
 Tampa, FL, 33602                                                    Basis for the claim: Lawsuit



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       353.42
                                                                                                                     $________________________________
 Nationwide
 PO Box 77210                                                         Contingent
 Minneapolis, MN, 55480-7200                                          Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5483
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ontario Systems LLC                                                 Check all that apply.
                                                                                                                      4,203.43
                                                                                                                     $________________________________
 1150 W Kilgore Avenue                                                Contingent
 Muncie, IL, 47305-1588                                               Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5441                   
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      234.00
                                                                                                                     $________________________________
 Quench USA, Inc.                                                    Check all that apply.
 PO Box 735777                                                        Contingent
 Dallas, TX, 75373-5777                                               Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              4885                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RevSpring, Inc.                                                     Check all that apply.
                                                                                                                       9,000.00
                                                                                                                     $________________________________
 26988 Network Place                                                  Contingent
 Chicago, IL, 60673-1269                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              5441                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
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             Case
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  Debtor          _______________________________________________________
                  Name                                  Document     Page 38 of Case
                                                                                 58 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             616.25
                                                                                                                     $________________________________
 Solved-IT                                                            Contingent
 333 N. Dobson Rd                                                     Unliquidated
 Ste 5 #138                                                           Disputed
 Chandler, AZ, 85224
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       191.53
                                                                                                                     $________________________________
 Stericycle
 28883 Network Place                                                  Contingent
 Chicago, IL, 60673-1288                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5089
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Techno Brain BPO ITES Limited                                       Check all that apply.
                                                                                                                      18,000.00
                                                                                                                     $________________________________
 Heritan House 2nd Floor                                              Contingent
 Woodlans Road                                                        Unliquidated
 Nairobi Kenya 510                                                    Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      178,748.36
                                                                                                                     $________________________________
 The Intelitech Group                                                Check all that apply.
 4800 NW Camas Meadows Drive                                          Contingent
 Ste 220                                                              Unliquidated
 Camas, WA, 98607                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 VCC Owner LLC                                                       Check all that apply.
                                                                                                                       33,543.90
                                                                                                                     $________________________________
 PO Box 935812                                                        Contingent
 Atlanta, GA, 31193-5812                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Florida Landlord



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
                                                                                                                                                 6 of ___
             Case
               ARC23-61742-bem
                  Management Group, LLC Doc 51           Filed 12/27/23 Entered 12/27/23 20:07:38     23-61742 Desc Main
  Debtor          _______________________________________________________
                  Name                                  Document     Page 39 of Case
                                                                                 58 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100,000.00
                                                                                                                     $________________________________
 Wells Fargo                                                          Contingent
 Elite Card Payment Center                                            Unliquidated
 POI Box 77066 29                                                     Disputed
 Minneapolis, MN, 55840-7766
                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,200.00
                                                                                                                     $________________________________
 Windstream
 PO Box 9001013                                                       Contingent
 Louisville, KY, 40290-1013                                           Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       8847
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________      No
                                                                      Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      No
        Last 4 digits of account number       ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
                                                                                                                                                 7 of ___
                Case  23-61742-bem
                  ARC Management Group, LLC        Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38    23-61742 Desc Main
     Debtor         _______________________________________________________
                    Name                                       Document     Page 40 of Case
                                                                                        58 number (if known)_____________________________________
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Georgia Department of Labor
4.1.      148 Andrew Young Inter. Blvd                                                         Line _____
          Room 738                                                                                                                              ________________
          Atlanta, GA, 30303-0000                                                              
                                                                                               ✔     Not listed. Explain:
                                                                                               FOR NOTICE PURPOSES ONLY
          Georgia Department of Revenue
4.2.
          Compliance Division, ARCS - Bankruptcy                                               Line _____
          1800 Century Blvd NE, Suite 9100                                                        
                                                                                                  ✔ Not listed. Explain                         ________________
          Atlanta, GA, 30345
                                                                                               FOR NOTICE PURPOSES ONLY
          Internal Revenue Service
4.3.                                                                                           Line _____
          CIO
          P.O. Box 7346                                                                           
                                                                                                  ✔ Not listed. Explain                         ________________
          Philadelphia, PA, 19101-7346
                                                                                                FOR NOTICE PURPOSES ONLY
          Pope & Land
4.4.      1701 Barrett Lakes Blvd                                                                   3.1
                                                                                               Line _____
          Ste 120                                                                                                                               ________________
          Kennesaw, GA, 30144
                                                                                                  Not listed. Explain

41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    9
                                                                                                                                                                8 of ___
            Case
              ARC 23-61742-bem
                  Management Group, LLC Doc 51        Filed 12/27/23 Entered 12/27/23 20:07:38      23-61742 Desc Main
 Debtor        _______________________________________________________
               Name                                  Document     Page 41 of Case
                                                                              58 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           0.00
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      463,582.04
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 463,582.04
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __    9
                                                                                                                                       9 of ___
           Case 23-61742-bem                  Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                                Desc Main
                                                          Document     Page 42 of 58
 Fill in this information to identify the case:

             ARC Management Group, LLC
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:______________________

                           23-61742                                         11
 Case number (If known):   _________________________                Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Copier Lease                                     SOS Copier Lease
         State what the contract or    Lessee                                           PO Box 660831
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        Dallas, TX, 75266-0831

         State the term remaining
         List the contract number of
         any government contract
                                       Venture Corporate Center Lease                   VCC Owner LLC
         State what the contract or [Assignment of lease by and among DPF               PO Box 935812
 2.2     lease is for and the nature Venture Corporate Center, LLC, EDPO
         of the debtor’s interest    Holdings, Inc., and ARC                            Atlanta, GA, 31193-5812

         State the term remaining
                                       6 months
         List the contract number of
         any government contract

                                       Lease for 330 Cumberland Blvd.,                  Adventus AOF #1 LP
         State what the contract or    Ste. 300                                         PO Box 936596
 2.3     lease is for and the nature
         of the debtor’s interest      Lessee
                                                                                        Atlanta, GA, 31193-6596
         State the term remaining      3 years, 2 months
         List the contract number of
         any government contract

                                       Equipment lease - Server A                       Hewlett-Packard Financial Services
         State what the contract or
 2.4                                   Lessee                                           PO Box 402582
         lease is for and the nature
         of the debtor’s interest                                                       Atlanta, GA, 30384-2584

         State the term remaining      28
         List the contract number of
         any government contract

                                       Sublease of Florida office space                  N/A
         State what the contract or    Lessor
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining      9 months
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       2
                                                                                                                                            page 1 of ___
           Case 23-61742-bem                Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                             Desc Main
                                                        Document     Page 43 of 58
               ARC Management Group, LLC                                                                           23-61742
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Equipment Lease - Server B                     Hewlett-Packard Financial Services
            State what the contract or    Lessee                                         PO Box 402582
   6
 2.____     lease is for and the nature                                                  Atlanta, GA, 30384-2584
            of the debtor’s interest
                                          17 months
            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
                                                                                                                                             2 of ___
                                                                                                                                                  2
           Case 23-61742-bem                   Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                                  Desc Main
                                                           Document     Page 44 of 58
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             ARC Management Group, LLC

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________

                            23-61742
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:
                                     12655 Old Surrey Place
 2.1 William D. Wilson                                                                                   Green   Note Capital Partners
                                                                                                          _____________________          D
                                                                                                                                      ✔ SPV LLC
                                     Roswell, GA 30075-1067
                                                                                                                                              E/F
                                                                                                                                              G




 2.2                                 12655 Old Surrey Place
                                     Roswell, GA 30075-1067                                              Green   Note Capital Partners
                                                                                                          _____________________       ✔ SPV
                                                                                                                                         D  LLC
                                                                                                                                              E/F
       Thresa Larae Wilson                                                                                                                    G




 2.3                                 12655 Old Surrey Place
                                     Roswell, GA 30075-1067                                               Funding   Club
                                                                                                           _____________________             ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       William D. Wilson                                                                                                                      G



 2.4
                                     12655 Old Surrey Place
                                     Roswell, GA 30075-1067                                              Funding   Club
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Thresa Larae Wilson                                                                                                                    G



 2.5                                 12655 Old Surrey Place
                                     Roswell, GA 30075                                                   True  Business Funding
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       ABI Holding, LLC                                                                                                                       G




 2.6                                 12655 Old Surrey Place
                                                                                                         True  Business Funding
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Roswell, GA 3075
                                                                                                                                              E/F
       Patient Account Services, LLC                                                                                                          G




Official Form 206H                                               Schedule H: Codebtors                                                                    4
                                                                                                                                               page 1 of ___
           Case 23-61742-bem               Doc 51     Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
               ARC Management Group, LLC             Document     Page 45 of 58        23-61742
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Corporate              12655 Old Surrey Place                                      True Business Funding
                                                                                                                              ✔ D
                                                                                                                              
          Resolutions, LLC       Roswell, GA 30075                                                                             E/F
                                                                                                                               G




   8
 2.___    Wilzara Property       12655 Old Surrey Place                                      True Business Funding
                                                                                                                              ✔ D
                                                                                                                              
          Management             Roswell, GA 30075                                                                             E/F
          Group LLC                                                                                                            G




   9
 2.___    William D. Wilson,     12655 Old Surrey Place                                      Cheetah Capital                  ✔ D
                                                                                                                              
          Jr.                    Roswell, GA 30075-1067                                                                        E/F
                                                                                                                               G




   10
 2.___    Thresa Larae           12655 Old Surrey Place                                      Cheetah Capital                  ✔ D
                                                                                                                              
          Wilson                 Roswell, GA 30075-1067                                                                        E/F
                                                                                                                               G




   11
 2.___    Corporate              12655 Old Surrey Place                                      Cheetah Capital                  ✔ D
                                                                                                                              
          Resolutions, LLC       Roswell, GA 30075                                                                             E/F
                                                                                                                               G




   12
 2.___    ABI Holding, LLC       12655 Old Surrey Place                                      Cheetah Capital                  ✔ D
                                                                                                                              
                                 Roswell, GA 30075                                                                             E/F
                                                                                                                               G




   13
 2.___    Wilzara Property       12655 Old Surrey Place                                      Cheetah Capital
                                                                                                                              ✔ D
                                                                                                                              
          Management             Roswell, GA 30075                                                                             E/F
          Group LLC                                                                                                            G




   14
 2.___
          ARC                    12655 Old Surrey Place                                      Cheetah Capital                  ✔ D
                                                                                                                              
          Management             Roswell, GA 30075                                                                             E/F
          Group of Georgia,                                                                                                    G
          LLC




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             4
           Case 23-61742-bem               Doc 51     Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
               ARC Management Group, LLC             Document     Page 46 of 58        23-61742
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___    Patient Account        12655 Old Surrey Place                                      Cheetah Capital
                                                                                                                              ✔ D
                                                                                                                              
          Services, LLC          Roswell, GA 3075                                                                              E/F
                                                                                                                               G




   16
 2.___    Healthtech             12655 Old Surrey Place                                      Cheetah Capital
                                                                                                                              ✔ D
                                                                                                                              
          Receivables            Roswell, GA 30075                                                                             E/F
          Management, Inc.                                                                                                     G




   17
 2.___    William D. Wilson      12655 Old Surrey Place                                      Samson MCA LLC                   ✔ D
                                                                                                                              
                                 Roswell, GA 30075-1067                                                                        E/F
                                                                                                                               G




   18
 2.___    Thresa Larae           12655 Old Surrey Place                                      Samson MCA LLC                   ✔ D
                                                                                                                              
          Wilson                 Roswell, GA 30075-1067                                                                        E/F
                                                                                                                               G




   19
 2.___    Wilzara Property       12655 Old Surrey Place                                      CT Corporation System, 
                                                                                                                    ✔ D
          Management             Roswell, GA 30075                                           as Representative       E/F
          Group LLC                                                                                                            G




   20
 2.___    The J.D. Stuart        1825 Barrett Lakes Blvd., N.W.                              CT Corporation System, 
                                                                                                                    ✔ D
          Law Group, LLC         Ste. 505                                                    as Representative       E/F
                                 Kennesaw, GA 30144                                                                            G




   21
 2.___    ABI Holding, LLC       12655 Old Surrey Place                                      CT Corporation System,
                                                                                                                    ✔ D
                                                                                                                    
                                 Roswell, GA 30075                                           as Representative       E/F
                                                                                                                               G




   22
 2.___
          ARC                    12655 Old Surrey Place                                      CT Corporation System, 
                                                                                                                    ✔ D
          Management             Roswell, GA 30075                                           as Representative       E/F
          Group of Georgia,                                                                                                    G
          LLC




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       3 of ___
                                                                                                                                             4
           Case 23-61742-bem               Doc 51     Filed 12/27/23 Entered 12/27/23 20:07:38 Desc Main
               ARC Management Group, LLC             Document     Page 47 of 58        23-61742
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   23
 2.___    Patient Account        1825 Barrett Lakes Blvd., N.W.                              CT Corporation System,
                                                                                                                    ✔ D
                                                                                                                    
          Services, LLC          Ste. 505                                                    as Representative       E/F
                                 Kennesaw, GA 307530144                                                                        G




   24
 2.___    William D. Wilson      12655 Old Surrey Place                                      American Express
                                                                                                                               D
                                 Roswell, GA 30075-1067                                                                       ✔ E/F
                                                                                                                              
                                                                                                                               G




   25
 2.___    William D. Wilson      12655 Old Surrey Place                                      Wells Fargo                       D
                                 Roswell, GA 30075-1067                                                                       ✔ E/F
                                                                                                                              
                                                                                                                               G




   26
 2.___    Thresa Larae           12655 Old Surrey Place                                      Wells Fargo
                                                                                                                               D
          Wilson                 Roswell, GA 30075-1067                                                                       ✔ E/F
                                                                                                                              
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       4 of ___
                                                                                                                                             4
             Case 23-61742-bem                                     Doc 51             Filed 12/27/23 Entered 12/27/23 20:07:38                                                                     Desc Main
                                                                                     Document     Page 48 of 58

 Fill in this information to identify the case:

                ARC Management Group, LLC
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        23-61742
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         813,865.48
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           813,865.48
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        7,744,057.88
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          463,582.04



4. Total liabilities ...........................................................................................................................................................................        8,207,639.92
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
      Case 23-61742-bem           Doc 51    Filed 12/27/23 Entered 12/27/23 20:07:38              Desc Main
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                                          United States Bankruptcy Court
                                                                                23-61742
IN RE:                                                               Case No.__________________
ARC Management Group, LLC                                                       11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Thresa Larae Wilson                                         50
 12655 Old Surrey Place, Roswell, GA 30075-1067




 William D. Wilson                                           50                      Managing member
 12655 Old Surrey Place, Roswell, GA 30075-1067
             Case 23-61742-bem                  Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                              Desc Main
                                                            Document     Page 50 of 58
      Fill in this information to identify the case:

                    ARC Management Group, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
                                 23-61742
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     The Intelitech Group                                               Suppliers or Vendors
1    4800 NW Camas Meadows Drive
     Ste 220
                                                                                                                                                   178,748.36
     Camas, WA, 98607


     Wells Fargo                                                        Monies Loaned /
2    Elite Card Payment Center                                          Advanced
     POI Box 77066 29
                                                                                                                                                   100,000.00
     Minneapolis, MN, 55840-7766

     Adventus AOF #1 LP                                                 Landlord
3    PO Box 936596
                                                                                                                                                   80,231.11
     Atlanta, GA, 31193-6596


     VCC Owner LLC                                                      Florida Landlord
4    PO Box 935812
     Atlanta, GA, 31193-5812                                                                                                                       33,543.90


     American Express                                                   Credit Card Debt
5    PO Box 60189
     City of Industry, CA, 91716-0189                                                                                                              18,076.86


     Techno Brain BPO ITES Limited                                      Suppliers or Vendors
6    Heritan House 2nd Floor
     Woodlans Road                                                                                                                                 18,000.00
     Nairobi Kenya 510


     RevSpring, Inc.                                                    Suppliers or Vendors
7    26988 Network Place
     Chicago, IL, 60673-1269                                                                                                                       9,000.00


     GILBRIDE, TUSA, LAST & SPELLANE,                                   Services
8    LLC
     986 Bedford Street                                                                                                                            6,500.00
     Stamford, CT, 06905




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
               Case 23-61742-bem               Doc 51      Filed 12/27/23 Entered 12/27/23 20:07:38                                Desc Main
                                                          Document     Page 51 of 58
                     ARC Management Group, LLC                                                                         23-61742
    Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                    Name




     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     InfoWorks                                                          Suppliers or Vendors
9    PO Box 47
     Woodstock, GA, 30188                                                                                                                          5,000.00


     Ontario Systems LLC                                                Suppliers or Vendors
10 1150 W Kilgore Avenue
     Muncie, IL, 47305-1588                                                                                                                        4,203.43



     Windstream                                                         Services
11 PO Box 9001013
     Louisville, KY, 40290-1013                                                                                                                    3,200.00


     IDI                                                                Suppliers or Vendors
12 PO Box 744971
     Atlanta, GA, 30384-4971                                                                                                                       1,350.00



     Hewlett-Packard Financial Services                                 Equipment Lease -
13 PO Box 402582
                                                                        Server B
     Atlanta, GA, 30384-2584                                                                                                                       1,103.30


     Keep It Safe                                                       Suppliers or Vendors
14 PO Box 101672
     Pasadena, CA, 91189                                                                                                                           895.71


     ComCast                                                            Services
15 PO Box 71211
     Charlotte, NC, 28272-1211
                                                                                                                                                   733.98


     Solved-IT                                                          Services
16 333 N. Dobson Rd
     Ste 5 #138                                                                                                                                    616.25
     Chandler, AZ, 85224

     e-Oscar                                                            Suppliers or Vendors
17 Dept 224501
     PO Box 55000
     Detroit, MI, 48255-4971                                                                                                                       600.00


     Hewlett-Packard Financial Services                                 Equipment Lease -
18 PO Box 402582                                                        Server A
     Atlanta, GA, 30384-2584                                                                                                                       532.69


     Nationwide                                                         Suppliers or Vendors
19 PO Box 77210
     Minneapolis, MN, 55480-7200
                                                                                                                                                   353.42


     Quench USA, Inc.                                                   Suppliers or Vendors
20 PO Box 735777
     Dallas, TX, 75373-5777                                                                                                                        234.00




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
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                                                         Document     Page 52 of 58
 Fill in this information to identify the case and this filing:

              ARC Management Group, LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

                              23-61742
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: Amended List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
              Form 204)


          Other document that requires a declaration__________________________________________________________________________________


        I declare under penalty of perjury that the foregoing is true and correct.


                    12/27/2023
        Executed on ______________                          /s/ William D. Wilson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  William D. Wilson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              SUPPLEMENTAL LIST OF CREDITORS



Charles H. Mousseau, Jr.
Eric Donald Coleman|Sulaiman Law Group Ltd.
2500 South Highland Ave Ste 200
Lombard, IL 60148


Jeanine Scull
c/o Seth J. Andrews|Law Offices of Kenneth Hiller
6000 North Bailey Ave., Ste. 1A
Amherst, NY 14226


Kendra Watts
c/o Naja I Hawk|The Hawk Legal Collective
730 Peachtree Street NE #570
Atlanta, GA 30308


Matthew Shawn Skinner
c/o Frank H. Kerney, III, Esq.
The Consumer Lawyers | 412 E. Madison St Ste 916
Tampa, FL 33602


SOS Copier Lease
PO Box 660831
Dallas, TX 75266-0831
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                             United States Bankruptcy Court
                             Northern District of Georgia




         ARC Management Group, LLC
In re:                                                        Case No. 23-61742

                                                              Chapter     11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              12/27/2023                        /s/ William D. Wilson
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Chief Executive Officer
                                                Position or relationship to debtor
       Case
     B2030   23-61742-bem
           (Form 2030) (12/15)                Doc 51       Filed 12/27/23 Entered 12/27/23 20:07:38                                      Desc Main
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                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                               __________________________________
     In re ARC Management Group, LLC
                                                                                                             Case No. _______________
                                                                                                                      23-61742



    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         50,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         595.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify) William D. Wilson

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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       d. [Other provisions as needed]
A. prepare and file on behalf of the client all petitions, schedules, statements, plans, and other documents or pleadings;
B. attend and represent the client at all meetings of creditors, hearings, trials, conferences, and other proceedings, whether in or out of court;
C. provide legal advice to the client as to the rights, duties, and powers of the client as a debtor in possession in a chapter 11 case, and as to other
matters arising in or related to the chapter 11 case; and
D. otherwise assist, advise, and represent the client on matters related to the chapter 11 case as requested by the client.

Attorney: Standard Hourly Rate:
William A. Rountree $595.00
Will B. Geer    $595.00
Michael Bargar $535.00
Hal Leitman     $425.00
David S. Klein    $495.00
Alexandra Dishun $425.00
Elizabeth Childers $395.00
Ceci Christy    $425.00
Caitlyn Powers $325.00
Shawn Eisenberg $300.00
William Matthews $425.00

Paralegals: Standard Hourly Rate:
Sharon M. Wenger $225.00
Elizabeth Miller $250.00
Megan Winokur $175.00
Catherine Smith $150.00




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
None
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        12/27/2023                       /s/ William Rountree, 616503
      _____________________             _________________________________________
      Date                                    Signature of Attorney
                                         Rountree, Leitman, Klein & Geer, LLC
                                        _________________________________________
                                            ​Name of law firm
                                         2987 Clairmont Road
                                         Suite 350
                                         Atlanta, GA 30329
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed the foregoing Schedules and

Statement of Financial Affairs (the “Schedules”) using the Bankruptcy Court’s Electronic Case

Filing program, which sends a notice of this document and an accompanying link to this document

to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic

Case Filing program:

James W. Hays                                         Gregory M. Taube
beau@hpmlawatl.com                                    greg.taube@nelsonmullins.com
                                                      linnea.hann@nelsonmullins.com
Alan Hinderleider                                     emma.zika@nelsonmullins.com
Alan.Hinderleider@usdoj.gov

Jeffrey W. Melcher
jmelcher@dickinsonwright.com

       This is to further certify that I have this day caused to be served a true and correct copy of

the Schedules by first class, United States mail, postage fully prepaid to assure delivery to the

following parties:

Charles H. Mousseau, Jr.                              Kendra Watts
Eric D Coleman|Sulaiman Law Group Ltd.                c/o Naja I Hawk|The Hawk Legal Collective
2500 South Highland Ave Ste 200                       730 Peachtree Street NE #570
Lombard, IL 60148                                     Atlanta, GA 30308

Jeanine Scull                                         Matthew Shawn Skinner
c/o Seth J. Andrews|Law Offices of Kenneth            c/o Frank H. Kerney, III, Esq.
Hiller                                                The Consumer Lawyers | 412 E. Madison St
6000 North Bailey Ave., Ste. 1A                       Ste 916
Amherst, NY 14226                                     Tampa, FL 33602

                                                      SOS Copier Lease
                                                      PO Box 660831
                                                      Dallas, TX 75266-0831

       This 27th day of December, 2023.
                                                      /s/ Ceci Christy
                                                      Ceci Christy
